Case 1:05-cr-10050-.]DT Document 3 Filed 07/27/05 Page 1 of 2 Page|D 5

 

 

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V.

GLENN KE|TH SNEAD,
Defendant.

 

APPL|CAT|ON, ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

 

The United States Attorney’s Office applies to the Court for a Writ to have GLENN KE|TH
SNEAD, now being detained in the Henderson County Jaii, appear before the Honorabie S.
Thomas Anderson on Ti,'-‘ESOA it &i`S/Lq/(/‘;j' . at -»?;LC~’ a.m.@tor
initial appearance for such other appearances as this Court may direct.

Respectfu||y submitted this 2 2 °Q_ day of Ju|y 2005.

%>M¢,

V|CTOR L. iVY /
Assistant U. S. Attorney

 

ORDER

 

Upon consideration of the foregoing App|ication,
David Joi|ey, U.S. |Vlarshai|, Western District of Tennessee, and Henderson County Sheriff:

YOU ARE HEREBY CON|MANDED to have GLENN KE|TH SNEAD, appear before the
Honorab|e S. Thomas Anderson at the date and time aforementioned

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S. THOMAS ANDERSON

United States |V!agistrate Judge
Thls document entered on the docket sheet ln mpilanc¢

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ISTRIC COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CR-10050 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

